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                       UNITED STATES DISTRICT
                FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

  KELLY DAWSON,                         )
                                        )
                  PLAINTIFF,            )
                                        )
     vs.                                )
                                        )       Cause Number: 2:09-CV-382
  NATIONAL ENTERPRISE                   )
  SYSTEMS, INC.,                        )
                                        )
                  DEFENDANT.            )

                                 NOTICE OF DISMISSAL

           Comes now Plaintiff, by counsel, Michael P. McIlree, and files her notice of

  dismissal with prejudice of the above cause of action pursuant to FRCP 41a(1)(i).




  3-9-10                           /s/ Michael P. McIlree




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